            Case 1:21-cv-00204-WJ-LF Document 25 Filed 10/14/21 Page 1 of 2




                            IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO

KEVIN TORGERSON,

           Plaintiff,

v.                                                                      1:21-cv-00204-KWR-LF

CHRISTOPHER STARR,

           Defendant.

          AMENDED ORDER GRANTING MOTION TO EXTEND CASE MANAGEMENT
                                 DEADLINES


           THIS MATTER came before the Court on Plaintiff’s Stipulated Motion to Modify and

Extend Current Case Management Deadlines, filed on October 13, 2021. Doc. 23. Having

reviewed the motion, the Court finds it is well-taken and extends the scheduling order deadlines as

follows:


     a)      Plaintiff’s Rule 26(a)(2) expert disclosure:                      January 17, 2022

     b)      Defendant’s Rule 26(a)(2) expert disclosure:                      March 1, 2022

     c)      Termination date for discovery:                                   April 15, 2022

     d)      Motions relating to discovery to be filed by:                     May 6, 2022

     e)      Pretrial motions other than discovery motions (including          May 31, 2022
             motions which may require a Daubert hearing) filed by:

     f)      Proposed Pretrial Order: Plaintiff to Defendant by:               June 24, 2022

                                       Defendant to Court by:                  July 7, 2022
        Case 1:21-cv-00204-WJ-LF Document 25 Filed 10/14/21 Page 2 of 2




       All other deadlines and discovery parameters remain as previously set. Any extension of

the case management deadlines must be approved by the Court. Any requests for additional

discovery must be submitted to the Court by motion prior to the expiration of the discovery

deadline.

        IT IS SO ORDERED.
                                            __________________________
                                            Laura Fashing
                                            United States Magistrate Judge




                                               2
